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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ROBERT ALLEN BOHANNA
6

7

8                   IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,        )       CR-S-07-201 FCD
                                      )
12                  Plaintiff,        )       STIPULATION AND ORDER
                                      )       FOR TEMPORARY RELEASE
13        v.                          )
                                      )
14   ROBERT ALLEN BOHANNA,            )
                                      )       Judge: Frank C. Damrell, Jr.
15                                    )
                    Defendant.        )
16   ______________________________
17        Defendant ROBERT ALLEN BOHANNA, by and through his counsel,
18   DENNIS S. WAKS, Supervising Assistant Federal Defender and the
19   United States Government, by and through its counsel, WILLIAM S.
20   WONG, Assistant United States Attorney, hereby stipulate to the
21   following:
22        On Sunday, March 1, 2009 the defendant’s mother, Mary
23   Bohanna, passed away at Kaiser Hospital located in Roseville,
24   California.
25        On Monday, March 2, 2009, the defendant, Robert Bohanna
26   appeared before this court, in response to the Government’s
27   Motion for Revocation of Magistrate Judge’s Order Authorizing
28   Pretrial Release for the Defendant.         After a hearing, Mr. Bohanna

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1    was ordered to be remanded back into custody.        At the end of this
2    hearing, it was agreed by all parties and this court to release
3    Mr. Bohanna from custody to attend the funeral of his mother on a
4    date certain for a time period of (8) eight hours.
5         The memorial service for Mary Bohanna will be held on
6    Saturday, March 28, 2009, at the Folsom VFW Hall located at 1300
7    Veterans Way, Folsom, California 95630.       Mr. Bohanna is to be
8    released to the custody of Federal Defender, Chief Investigator,
9    Philip L. Oliver and Federal Defender Investigator, Charles
10   Gillespie who will pick up Mr. Bohanna at the El Dorado County
11   Jail, Placerville, California at 11:00 a.m. on March 28, 2009,
12   will be in our Investigator’s custody during the 5 ½ hour
13   duration and will return Mr. Bohanna back to the jail on or
14   before 4:30 p.m. on that date.
15   Dated: March 20, 2009            Respectfully Submitted,
16                                    LAWRENCE G. BROWN
                                      Acting United States Attorney
17

18                                    /s/ Dennis S. Waks for
                                      WILLIAM S. WONG
19                                    Assistant U.S. Attorney
20

21   Dated: March 20, 2009            /s/ Dennis S. Waks
                                      DENNIS S. WAKS
22                                    Supervising Assistant
                                      Federal Defender
23                                    Attorney for Defendant
                                      ROBERT ALLEN BOHANNA
24
     SO ORDERED.
25

26   Dated: March 23, 2009
27
                                      FRANK C. DAMRELL, JR.
28                                    UNITED STATES DISTRICT JUDGE

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